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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                                                 :
Derek Reber,                                     :
                                                 :
                                                 :
                       Plaintiff,                :
       v.                                        : Civil Action No.: 1:10-cv-02335-RBK -JS
                                                 :
Accounts Receivable Management, Inc.; and        :
DOES 1-10, inclusive,                            :
                                                 :
                                                 :                                                 (
                       Defendant.                :                                                 D
                                                                                                   R
                                                                                                   H

                                    NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 30 days.


Dated: July 15, 2010

                                                  Respectfully submitted,

                                                  PLAINTIFF, Derek Reber

                                                   /s/ Jennifer Kurtz

                                                  Jennifer Kurtz, Esq.
                                                  Lemberg & Associates LLC
                                                  1100 Summer Street
                                                  Stamford, CT 06905
                                                  Phone: (732) 390-5262
                                                  Fax: (203) 653-3424
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2010, a true and correct copy of the foregoing Notice of
Settlement was served electronically by the U.S. District Court District of New Jersey Electronic
Document Filing System (ECF) and that the document is available on the ECF system.

                                             By /s/ Jennifer Kurtz

                                                    Jennifer Kurtz
